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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 HUMANA INC., ET AL.,                             §
                                                  §
      Plaintiffs,                                 §
                                                  §
 v.                                               §    Civil Action No. 4:24-CV-01004-O
                                                  §
 U.S. DEPARTMENT OF HEALTH                        §
 AND HUMAN SERVICES, ET AL.,                      §
                                                  §
      Defendants.                                 §

                                              ORDER

         Before the Court is the Plaintiffs and Defendants’ Joint Motion to Amend Briefing

Schedule (ECF No. 30). Upon consideration of the governing standards, it is hereby ORDERED

that the Joint Motion to Amend Briefing Schedule is GRANTED.

         The prior briefing schedule (ECF No. 18) is hereby amended. The following schedule

shall govern the briefing on Plaintiffs’ forthcoming motion for summary judgment and

Defendants’ forthcoming cross-motion for summary judgment/opposition to Plaintiffs’ motion in

this case:

         •   January 10, 2025: Defendants file an amended administrative record and certified
             index to the administrative record, pursuant to the parties’ agreement as reflected in
             their Joint Motion to Amend Briefing Schedule.

         •   January 21, 2025: Plaintiffs file a motion for summary judgment.

         •   February 7, 2025: Defendants file a combined opposition and cross-motion.

         •   February 19, 2025: Plaintiffs file a combined reply and opposition.

         •   February 28, 2025: Defendants file a reply.

         SO ORDERED on this 17th day of December, 2024.


                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE
